Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 1 of 49




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA

   1) HAYDEN RYAN AND                            §
   2) AUTUMN RYAN, INDIVIDUALLY                  §
      AND AS PARENTS AND NEXT                    §
      FRIENDS OF THEIR MINOR SON                 §
      C.R.,                                      §
                                                 §   Case No. 18-cv-00206-GKF-FHM
                  Plaintiffs,                    §
    v.                                           §
                                                 §
    1) UNITED HEALTHCARE LIFE                    §
       INSURANCE COMPANY,                        §
                                                 §
                  Defendant.                     §

                                  NOTICE OF REMOVAL

          Defendant, for purposes only of removing this cause to the United States District

   Court for the Northern District of Oklahoma, states:

          1.     State Court Action. This is an action filed by Plaintiffs on March 16, 2017,

   in the District Court of Tulsa County, State of Oklahoma, being numbered Case No. CJ-

   2017-01044 on the docket of said court and essentially being a suit by Plaintiffs to recover

   benefits under a medical insurance policy as well as punitive damages for the denial of

   claimed benefits.

          2.     Diversity of Citizenship. This action is removable under 28 U.S.C. §§ 1332,

   1441 and 1446 inasmuch as the action is between parties with diverse citizenship. Plaintiffs

   are all citizens of Oklahoma and residents of Tulsa County, Oklahoma. [See Petition, ¶ 1;

   Amended Petition, ¶ 1]. Defendant is a Wisconsin corporation with its principal place of

   business in Green Bay, Wisconsin “outside of the state of Oklahoma.” [See Declaration,
    NOTICE OF REMOVAL                                                                  PAGE 1
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 2 of 49




   Ex. A; Petition, ¶ 2; Amended Petition, ¶ 2]. Therefore, Plaintiffs are citizens of Oklahoma,

   and Defendant is a citizen of Wisconsin for removal and diversity purposes. There is

   complete diversity of citizenship between Plaintiffs and Defendant at the time of filing suit

   and at the time of removal.

              3.       Amount in Controversy Exceeds $75,000.00.                        This action is further

   removable under 28 U.S.C. §§ 1332, 1441 and 1446 inasmuch as the amount in controversy

   exceeds $75,000.00. In the Petition and Amended Petition filed March 16, 2017, and March

   31, 2017, respectively, Plaintiffs seek in their prayers for relief “Actual damages in an

   amount no less than $61,086.90 against Defendant for the causes of action listed above in

   addition to punitive damages.”1 [See Petition, p. 4; Amended Petition, p. 4]. “Punitive

   damages may be considered in determining the requisite jurisdictional amount.” Singleton

   v. Progressive Direct Ins. Co., 49 F. Supp. 3d 988, 993 (N.D. Okla. 2014) (quoting

   Woodmen of the World Life Ins. Soc'y v. Manganaro, 342 F.3d 1213, 1218 (10th Cir.2003).

              4.       While denying the allegations of Plaintiffs and denying that Plaintiffs are

   entitled to recover any amounts or any relief claimed, the claims of bad faith alleged in the

   second and seventh causes of action, alone or along with the other asserted breach of

   fiduciary duty, fraud, intentional infliction of emotional distress, or malicious wrong

   claims, permit an award of punitive damages if proven under Oklahoma law. See Badillo

   v. Mid Century Ins. Co., 121 P.3d 1080, 1106 (Okla. 2005) (“breach by an insurer of the

   implied duty to deal fairly and to act in good faith with the insured, ‘gives rise to an action


   1
       Unless otherwise indicated, all emphasis is supplied by counsel for Defendant.

       NOTICE OF REMOVAL                                                                               PAGE 2
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 3 of 49




   in tort for which consequential and, in a proper case, punitive, damages may be sought,’”

   quoting Christian v. American Home Assurance Co., 577 P.2d 899, 904 (Okla. 1977)).

   Plaintiffs factually support their claims of bad faith and other tort claims seeking punitive

   damages with allegations in both the Petition and Amended Petition that Defendant has

   “refused to properly interpret the provisions of the Policy,” that “[t]he Policy has been

   unreasonably interpreted by Defendant so that Defendant can save money, to the detriment

   of Plaintiffs’ minor son C.R.,” that “the Policy has been unreasonably interpreted by

   Defendant in bad faith, thus causing Plaintiffs damages,” that “Defendant’s actions toward

   Plaintiffs in light of … the clear language of the Policy … were outrageous, atrocious, and

   beyond all possible bounds of decency … [and] were intentionally and recklessly caused

   to force Plaintiffs to experience emotional distress,” that “Defendant’s breach of the

   Second Policy was in bad faith,” and “Defendant’s conduct … and its actions toward the

   Plaintiffs were intentional and calculated in the ordinary course of events to damage, done

   without just cause or excuse.” [Petition, ¶¶ 9, 10, 11, 18, 23, & 25; Amended Petition, ¶¶ 9,

   10, 11, 18, 23, & 25].

          5.     Further, under Okla. Stat. TIT. 23 § 9.1, punitive damages are available in a

   bad faith insurance action upon a showing of reckless disregard toward another's rights

   from which malice and evil intent may be inferred.” Badillo, 121 P.3d at 1106; see Okla.

   Stat. TIT. 23 § 9.1. This governing Oklahoma statute then allows, at the very least, for

   recovery for punitive damages in an amount not to exceed the greater of $100,000.00 or

   the amount of actual bad faith damages. See Okla. Stat. TIT. 23 § 9.1(B). So, Plaintiffs’


    NOTICE OF REMOVAL                                                                   PAGE 3
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 4 of 49




   punitive damages claim is at least $61,086.90, such being the amount of actual bad faith

   damages claimed. [See Petition, p. 4; Amended Petition, p. 4]. See Badillo, 121 P.3d at

   1106; see Okla. Stat. TIT.23 § 9.1. Thus, using the lowest level of punitive damages

   available, the amount in controversy as pled by Plaintiffs totals $122,173.80, (the

   $61,086.90 in claimed actual damages plus $61,086.90 in category one punitive damages).

          6.     In addition to the pleadings demonstrating an amount in controversy

   exceeding $75,000.00, Plaintiffs themselves demonstrated unequivocally that the amount

   claimed exceeds $75,000.00 through their pre-suit demands. Specifically, by demand letter

   dated January 9, 2017 (the “Demand Letter”), Plaintiffs as part of an “offer to enter into

   settlement negotiations outside of litigation” attached a draft petition they claimed “will be

   filed on February 9, 2017, unless UnitedHealthcare agrees to mediate in Tulsa before that

   date.” [See Declaration, Ex. A, ¶ 3 (Ex. 1, p. 1)]. In this pre-suit demand, the draft petition

   in paragraph 9 seeks “damages in an amount in excess of $75,000.00” and then in its prayer

   for relief seeks “Punitive damages and actual damages in excess of $75,000.00 against

   Defendant for the causes of action listed.” [See Declaration, Ex. A, ¶ 3 (Ex. 1, pp. 2,4.)].

          7.     The Court is to determine “by a preponderance of the evidence whether the

   actual value of punitive damages places the amount in controversy above $75,000.00.”

   Singleton, 49 F. Supp. 3d at 993 (citing 28 U.S.C. § 1446(c)(2)(B)). Evidence of an out-of-

   court demand in excess of $75,000.00 may alone also be sufficient to meet the

   jurisdictional standard. Id.; McPhail v. Deere & Co., 529 F.3d 947, 955 (10th Cir. 2008).

   Once jurisdictional facts are proven, remand is not appropriate so long as “it is not legally


    NOTICE OF REMOVAL                                                                     PAGE 4
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 5 of 49




   certain that the claim is less than the jurisdictional amount.” Singleton, 49 F. Supp. 3d at

   992 (quoting Woodmen of the World Life Ins. Soc'y, 342 F.3d at 1218).

            8.    Here, like in Singleton, the claims and asserted underlying facts demonstrate

   that the value of Plaintiffs’ claim for punitive damages, when coupled with their claim for

   actual damages, exceeds the jurisdictional threshold of $75,000.00. See Singleton, 49 F.

   Supp. 3d at 994. This is further confirmed by Plaintiffs’ Demand Letter that places the

   amount in controversy above $75,000.00. Plaintiffs’ attempted artful and disingenuous

   filed pleadings seeking to leave the dollar amount of punitive damages out as a means to

   prevent removal thus fails.

            9.    Therefore, this Court has original jurisdiction of this wholly civil action

   pursuant to 28 U.S.C. § 1332, Defendant having shown by at least a preponderance of the

   evidence that the amount in controversy exceeds $75,000.00, exclusive of interest and

   costs.

            10.   Removal is Timely. Defendant was served with process on March 27, 2018.

   Therefore, removal is timely under 28 U.S.C. § 1446(b) as this notice of removal is being

   filed “within 30 days after the receipt by the defendant.”

            11.   The U.S. Supreme Court has determined that “formal service of process on

   a defendant is required to trigger the 30-day period to file a notice of removal under

   § 1446(b), and a defendant's receipt of a courtesy copy of the complaint or knowledge that

   a case has been filed is insufficient to trigger a defendant's 30-day time period to remove a

   case to federal court.” Robinson v. Dolgencorp, LLC, No. 13-CV-0001-CVE-FHM, 2013


    NOTICE OF REMOVAL                                                                   PAGE 5
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 6 of 49




   WL 789611 * 2 (N.D. Okla. March 4, 2013) (citing Murphy Brothers, Inc. v. Michetti Pipe

   Stringing, Inc., 526 U.S. 344, 355-356 (1999)). This and other courts consistent with the

   above governing precedent likewise require formal service of process to trigger the 30-day

   removal period. See White v. Mylan, Inc., 2012 WL 6726593, *4 (W.D. Okla. Dec. 27,

   2012); Denny v. Illinois Nat'l Ins. Co., 2010 WL 5141656, *4–5 (N.D. Okla. Dec. 13,

   2010); Fenwick v. Nationwide Mutual Insurance Company, 2009 WL 3246757, *2 (D.

   Utah Oct. 6, 2009); Anderson v. Ford Motor Co., 303 F. Supp. 2d 1253, 1257–58 (W.D.

   Okla. 2004). Thus, Plaintiffs providing of a draft petition as part of the Demand Letter or

   Plaintiffs’ later requests to the state court to delay the date of required service did not affect

   the Defendant’s timely removal of this action within 30 days after formal service.

          12.     Further, and as detailed above, the Plaintiffs’ state court action was initially

   removeable. The parties set forth in the Petition are fully diverse. The amount in

   controversy as detailed above exceeded $75,000.00 from the outset of the filing of the

   Petition. Because the case started by the initial pleading was removable, even if formal

   service of the Petition to start the removal clock was not required (it is as detailed above),

   the one-year removal time limitation of 28 U.S.C. § 1446(b)(3) and (c) that only apply “if

   the case started by the initial pleading is not removeable” has no application to the removal

   of this case. See Anderson v. Ford Motor Co., 303 F. Supp.2d 1253, 1257-59 (W.D. Okla.

   2004) (“According to a plain reading of § 1446(b), the “except” clause applies only to

   diversity cases not originally removable.”); Brown v. Tokio Marine and Fire Ins. Co., 284

   F.3d 871 (8th Cir. 2002), cert. denied, 537 U.S. 826, (2002) (holding that the “except”


    NOTICE OF REMOVAL                                                                        PAGE 6
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 7 of 49




   clause applies only to cases not originally removable); Brierly v. Alusuisse Flexible

   Packaging, Inc., 184 F.3d 527 (6th Cir. 1999) (accord); New York Life Ins. Co. v. Deshotel,

   142 F.3d 873 (5th Cir. 1998) (same); Ritchey v. Upjohn Drug Co., 139 F.3d 1313 (9th Cir.

   1998) (same); see also Robinson, No. 13-CV-0001-CVE-FHM, 2013 WL 789611 * 2 (N.D.

   Okla. March 4, 2013, J. Eagan) (citing Anderson with approval and holding that “formal

   service of process on a defendant is required to trigger the 30 day removal period.”).2

            13.      State Court Documents Attached. Attached hereto are copies of all

   process, pleadings, and orders served on Defendant or made a part of the state court record

   in the state court action (having been obtained directly from the state court clerk), including

   a copy of the state court docket sheet. [See Exhibit B].

            14.      Notice. Defendant will give notice of filing of the Notice of Removal to all

   parties of record pursuant to 28 U.S.C. § 1446(d) and will file with the state court a notice

   of filing this Notice of Removal.

            15.      Prayer. Wherefore, Defendant prays that the United States District Court for

   the Northern District of Oklahoma accept this Notice of Removal, that it assumes



   2
     Moreover, even in the unlikely event the Court determines that formal service is not required before the removal
   clock starts to run and that the state court action was not initially removable contrary to all of the above, removal
   would still be proper. Under 28 U.S.C. 1446(c)(1) and (3)(B) removal is proper where a plaintiff “deliberately failed
   to disclose the actual amount in controversy to prevent removal, such being deemed “bad faith” thus permitting
   removal even after one year in an initially non-removable diversity case. Here, Plaintiffs deliberately sought to reduce
   the explicitly stated amount in controversy by changing the allegation of actual and punitive damages detailed in the
   petition attached to the Demand Letter as being over $75,000.00 to just stating a dollar amount of actual damages
   while leaving the punitive damages without an express dollar amount. Moreover, the Petition as then filed (unlike the
   petition attached to the Demand Letter) fails to comply with Oklahoma state pleading procedures that require every
   petition seeking punitive damages to “state whether the amount of damages sought to be recovered is in excess of or
   not in excess of the amount required for diversity jurisdiction pursuant to Section 1332 of Title 28 of the United States
   Code.” Title 12 O.S. 2011 § 2009 (G). Plaintiffs deliberate efforts to obfuscate the amount in controversy as
   demonstrated above is yet another ground authorizing removal in this case. See 28 U.S.C. 1446(c)(1) and (3)(B).

       NOTICE OF REMOVAL                                                                                          PAGE 7
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 8 of 49




   jurisdiction of this cause, that it issues such further orders and processes as may be

   necessary to bring before it all parties necessary for the trial hereof, and that it grant such

   other and further relief as may be necessary.

    Dated: April 13, 2018                 Respectfully submitted,


                                          By: /s/ Joseph V. Allen
                                               Joseph V. Allen, OBA 31464
                                               j.allen@barrowgrimm.com

                                          BARROW & GRIMM
                                          110 West 7th Street, Suite 900
                                          Tulsa, OK 74119-1044
                                          (918) 584-1600
                                          (918) 585-2444 (Fax)

                                          Andrew G. Jubinsky (pro hac vice to be filed)
                                          Texas Bar No. 11043000
                                          andy.jubinsky@figdav.com
                                          Michael G. Brown ( pro hac vice to be filed)
                                          Texas Bar No. 03153800
                                          mike.brown@figdav.com
                                          FIGARI + DAVENPORT, LLP
                                          901 Main Street, Suite 3400
                                          Dallas, TX 75202
                                          (214) 939-2000
                                          (214) 939-2090 (Fax)

                                          ATTORNEYS FOR DEFENDANT




    NOTICE OF REMOVAL                                                                     PAGE 8
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 9 of 49




                               CERTIFICATE OF SERVICE

          I hereby certify that on April 13, 2018, I electronically transmitted the foregoing
   document to the Clerk of Court using the ECF System for filing and transmittal of a Notice
   of Electronic Filing to the following ECF registrants:

         J. Brian Brandes
         brian@brandesandyancy.com

          I hereby certify that on April 13, 2018, I served the same document by      N/A
   on the following, who are not registered participants of the ECF system:

         None.
                                            /s/ Joseph V. Allen
                                            Joseph V. Allen




    NOTICE OF REMOVAL                                                                 PAGE 9
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 10 of 49




                               EXHIBIT A
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 11 of 49




                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OKLAHOMA

   HAYDEN AND AUTUMN RY AN,                        §
   INDIVIDUALLY AND AS PARENTS                     §
   AND NEXT FRIEND OF THEIR                        §
   MINOR CHILD SON C.R.,                           §
                                                   f;
                                                   ~
          Plaintiffs,                              f;
                                                   ~
                                                   §               18-cv-00206-GKF-FHM
                                                           C.A.No. -
   V.                                              §                  ----
                                                   §
   UNITED HEAL TH CARE LIFE
                                                   §
   INSURANCE COMPANY,
                                                   §
                                                   §
          Defendant.

                                         DECLARATION
                                    /j

          1.     My name is     ~.J.,,j (:_   J'"';, ~u,1.,,-,,.   . I am over the age of eighteen

   years and am competent to make this declaration. I work on behalf of UnitedHealthcare

   Life Insurance Company. I have personal knowledge of the statements set forth herein,

   and they are true and correct.

          2.     At all times relevant hereto, including both now, at the time the lawsuit was

   filed on March 16, 2017, and at the time the lawsuit was served on March 27, 2018,

   UnitedHealthcare Life Insurance Company has been a Wisconsin corporation with its

   principal place of business in Green Bay, Wisconsin.




   Declaration                                                                             Pagel
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 12 of 49




            3.       Plaintiffs' counsel, by letter dated January 9, 2017, made a pre-suit demand

   on United Healthcare Life Insurance Company. A true and correct copy of the letter,

   including the draft petition attached thereto, is attached hereto as Exhibit 1. 1


            I declare under penalty of perjury that the foregoing is true and correct.
                                      4~
            EXECUTED this // day of April, 2018.


                                                        gg~:~N~~HC;R~tJFEINS~~A~CE
                                                               1/"
                                                               ~- /Ir / /,    / -y:
                                                                                , .......__
                                                        B y:            L  ,,  I                           -<._,---


                                                                    /      ~                      ,.
                                                        Its:     \l:.c:< /?es-d<,z.:I-     +·   ,J~"<"'.-!'_4.., --
                                                                                                                        I




   1
     The written discovery and evidence preservation letter referenced in the Demand Letter are not attached to Exhibit
   l hereto.

  Declaration                                                                                                         Page 2
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 13 of 49




     BRANDES & YANCY
     J. Brian Brandes
     Rod T. Yancy
     Brandy L. Robles



       CONFIDENTIAL COMPROMISE OFFER PURSUANT TO OKLA. STAT. TIT. § 2408

                                                                                                           January 9, 2017
     United Healthcare Life Insurance Company
     ATTN: Legal Department
     3100 AMS Boulevard
     PO Box 19032
     Green Bay, WI, 54307

     United Healthcare Life Insurance Company
     ATTN Legal Department
     7440 Woodland Drive
     Indianapolis, IN 47268
                                                                                                       Via Certified Mail
     Re:     Ryan v. United Healthcare; Tulsa Co. Case No. CJ-17-xx
             Control No. 16004-38009
             Identification No. 430182848
     To Whom it May Concern:
            As previously advised, I have been retained by the Ryan family to address the issues
     that have arisen with regard to United Healthcare's denials of coverage for ABA therapy.
     This letter is being sent as an offer to enter into settlement negotiations outside of litigation.
            Enclosed please find the Petition with regard to the above-referenced matter as well
     as the first set of discovery to United Healthcare. The Petition will be filed on February 9,
     2017, unless United Healthcare agrees to mediate in Tulsa before that date. The attached
     discovery will be served with the Petition. Also enclosed is a copy of the December 16, 2016
     evidence preservation letter, which was previously faxed to the recipients noted therein. If
     United Healthcare or its attorneys would like to discuss this matter, please contact my
     office in the next month. Thank you.
                                                          Sincerely,


                                                         J. Brian Brandes
     Jbb:Mjc                                                                                          RECEIVED JAN 13 21,ill
     Enclosures
                  1214 East 33rd Street, Tulsa, OK 74105 P: 918-924-5520 F: 918-796-5717 brianaLandesanclyaney.corn

                                                               EXHIBIT

                                                                    I
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 14 of 49




                                IN THE DISTRICT COURT IN AND FOR TULSA COUNTY
                                              STATE OF OKLAHOMA


        HAYDEN AND AUTUMN RYAN, INDIVIDUALLY AND AS
        PARENTS AND NEXT FRIENDS OF THEIR MINOR SON C.R.

                                 Plaintiffs,
                                                                    Case No. CJ-2016-
        VS.

              (1) UNITED HEALTHCARE LIFE INSURANCE
                  COMPANY

                                 Defendant.


                                                    PETITION

               COMES NOW PLAINTIFFS Hayden and Autumn Ryan and their Minor Son C.R.

       ("Plaintiffs") and for their claims against Defendant United Healthcare Life Insurance Company

       ("Defendant") state as follows.

                I.    Plaintiffs are Tulsa County residents and have been Tulsa County residents for all

       relevant time periods.

                2.    Defendant is an insurance company with its principal place of business outside of the

       state of Oklahoma.

                3.    The acts, omissions, and occurrences that gave rise to this lawsuit arose in Tulsa

       County.

                4.    Jurisdiction and venue are appropriate in this matter.

               FIRST CAUSE OF ACTION – BREACH OF CONTRACT OF DEFENDANT

                5.    On or about January 1, 2015, Defendant issued Policy Number 430 038 821

       ("Policy") for Plaintiffs' minor son ("CR") with an effective date ofJanuary 1, 2015—December 31,

       2015.
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 15 of 49




              6.      The Policy was renewed for a second term from January I , 2016, with an effective

       date of January 1, 2016—December 31, 2016.

              7.      The Policy, by its terms, covers Applied Behavior Analysis (ABA) therapy, which is

       required by CR in light of his diagnosis of Autism Spectrum Disorder.

              8.      The Policy, by its terms, is Guaranteed Renewable Subject to Listed Conditions.

              9.      Defendant has refused to appropriately interpret the provisions of the Policy, thereby

       causing Plaintiffs damages in an amount in excess of $75,000.00.

                    SECOND CAUSE OF ACTION – BAD FAITH OF DEFENDANT

              Paragraphs 1-9 above are hereby incorporated by reference as if fully set forth herein.

              10.     The Policy has been unreasonably interpreted by Defendant so that Defendant can

       save money, to the detriment of Plaintiffs' minor son CR.

              11.     The Policy has been unreasonably interpreted by Defendant in bad faith, thus causing

       Plaintiffs' damages.

                    THIRD CAUSE OF ACTION – BREACH OF FIDUCIARY DUTY

              Paragraphs 1-11 above are hereby incorporated by reference as if fully set forth herein.

              12.     Defendant, by and through its actions, has breached the fiduciary duty it owes

       Plaintiffs and their minor son CR.

                                 FOURTH CAUSE OF ACTION - FRAUD

              Paragraphs 1-12 above are hereby incorporated by reference as if fully set forth herein.

              13.     Defendant, by no later than April 1, 2015, "provided guidance that [Defendant felt]

       ABA is not covered under the language of the Policy."

              14.     On or about April 17, 2015, Defendant cited the relevant provisions of the Policy that

       address and provide coverage for ABA while incorrectly claiming that "there are no benefits for


                                                         2
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 16 of 49




       ABA therapy in Oklahoma."

                15.     The representation made by Defendant in ¶ ¶ 15-16 above were false at the time they

       were made, were made by Defendant with knowledge of its falsity, and were made with the intention

       that Plaintiffs rely upon it, which they did, thus causing them damages.

                16.     Plaintiffs reserve the right to amend their claim for fraud as discovery continues to

       reveal additional counts of fraud.

       FIFTH CAUSE OF ACTION — INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

                17.     The allegations contained above in Paragraphs 1-16 are hereby incorporated by

       reference as if fully set forth herein.

               18.      Defendant's actions towards Plaintiffs in light of their minor son CR' s condition, the

       clear language of the Policy providing coverage for ABA therapy, and the need for ongoing medical

       treatment were outrageous, atrocious, and beyond all possible bounds of decency; Defendant's

       actions were intentionally and recklessly caused to force Plaintiffs to experience emotional distress

       beyond that which a reasonable per could be expected to endure.

                      SIXTH CAUSE OF ACTION — SECOND BREACH OF CONTRACT

                19.     The allegations contained in Paragraphs 1-18 are hereby incorporated by reference as

       if fully set forth herein.

               20.      Plaintiffs obtained policy number 430-182-848 ("the Second Policy") with an

       effective date of January 1, 2016, and have materially complied with all terms of the same.

               21.      Defendant has breached the terms of the Second Policy, thus causing damages to

       Plaintiffs.

                                         SEVENTH CAUSE OF ACTION

               22.      The allegations contained in Paragraphs 1-21 are hereby incorporated by reference as


                                                           3
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 17 of 49




       if fully set forth herein.

                23.    Defendant's breach of the Second Policy was in bad faith, and has caused the

       Plaintiffs damages.

                           EIGHTH CAUSE OF ACTION — MALICIOUS WRONG

                24.    The allegations contained in Paragraphs 1-23 are hereby incorporated by reference as

       if fully set forth herein.

                25.    Defendant's conduct relating to the Policy and Second Policy and its actions directed

       towards Plaintiffs were intentional and calculated in the ordinary course of events to damage, done

       without just cause nor excuse, and which did, in fact, damage Plaintiffs, thus constituting a malicious

       wrong.

                                               PRAYER FOR RELIEF

                WHEREFORE, premises considered, Plaintiffs hereby pray for judgment in their favor as

       follows: Punitive damages and actual damages in excess of $75,000.00 against Defendant for the

       causes of action listed above.

                                                       Respectfully submitted,

                                                       BRANDES & YANCY, P.L.L.C.




                                               BY:
                                                       J. BRIAN BRANDES, OBA #21112
                                                       1214 E. 33'd St.
                                                       Tulsa, OK, 74105
                                                       918-924-5520 (phone)
                                                       918-796-5717 (fax)
                                                       brian@brandesandyancy.com




                                                          4
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 18 of 49




                                                   VERIFICATION

       STATE OF OKLAHOMA
       COUNTY OF TULSA

               Hayden Ryan of lawful age and being first duly sworn states that he has read the foregoing
       Petition, that he is familiar with the contents therein and that the allegations set forth therein are true
       and correct.


                                                         Hayden Ryan



               Subscribed and sworn before me this                day of                           , 2016.



       STATE OF OKLAHOMA
       COUNTY OF TULSA

               Autumn Ryan of lawful age and being first duly sworn states that she has read the foregoing
       Petition, that she is familiar with the contents therein and that the allegations set forth therein are true
       and correct.


                                                         Autumn Ryan



               Subscribed and sworn before me this                day of                           , 2016.




                                                            5
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 19 of 49




                               EXHIBIT B
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 20 of 49


                                                                                                1*111111111111111*1
                                                                                                   1 Q 3 6 2 1 9 7 5 7


                                IN THE DISTRICT CouRT IN AND FOR TULSA Coill!BISTRIQT CQ
                                              STATE OF OKLAHOMA                 F I L E DUR.I_


                                                                                     MAR 16 2017
        HAYDEN AND AUTUMN RYAN, INDIVIDUALLY AND AS
        PARENTS AND NEXT FRIENDS OF THEIR MINOR SON C.R.                       DON NEWBERRY, Court Clerk
                                                                               STATE OF OKLA. TUL SA COUNTY
                                Plaintiffs,
                                                                   Case No. CJ-2017-
        vs.

              (1) UNITED HEALTHCARE LIFE INSURANCE
                  COMPANY
                                                                      �2 0 17 - 01044
                                Defendant.                                        DAMAN CANTRELL

                                                   PETITION

                COMES NOW PLAINTIFFS Hayden and Autumn Ryan and their Minor Son C.R.

       ("Plaintiffs") and for their claims against Defendant United Healthcare Life Insurance Company

       ("Defendant") state as follows.

               1.     Plaintiffs are Tulsa County residents and have been Tulsa County residents for all

       relevant time periods.

               2.     Defendant is an insurance company with its principal place of business outside of the

       state of Oklahoma.

               3.     The acts, omissions, and occurrences that gave rise to this lawsuit arose in Tulsa

       County.

               4.     Jurisdiction and venue are appropriate in this matter.

               FIRST CAUSE OF ACTION - BREACH OF CONTRACT OF DEFENDANT

               5.     On or about January 1, 2015, Defendant issued Policy Number 430 038 821

       ("Policy") for Plaintiffs' minor son ("CR") with an effective date of January 1, 2015-December 31,

       2015.
                               -                                             -
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 21 of 49




              6.      The Policy was renewed for a second term from January 1, 2016, with an effective

       date of January 1, 2016-December 31, 2016.

              7.      The Policy, by its terms, covers Applied Behavior Analysis (ABA) therapy, which is

       required by CR in light of his diagnosis of Autism Spectrum Disorder.

              8.      The Policy, by its terms, is Guaranteed Renewable Subject to Listed Conditions.

              9.      Defendant has refused to appropriately interpret the provisions of the Policy, thereby

       causing Plaintiffs damages.

                    SECOND CAUSE OF ACTION -BAD FAITH OF DEFENDANT

              Paragraphs 1-9 above are hereby incorporated by reference as if fully set forth herein.

              10.     The Policy has been unreasonably interpreted by Defendant so that Defendant can

       save money, to the detriment of Plaintiffs' minor son CR.

              11.     The Policy has been unreasonably interpreted by Defendant in bad faith, thus causing

       Plaintiffs damages.

                    THIRD CAUSE OF ACTION - BREACH OF FIDUCIARY DUTY

              Paragraphs 1-11 above are hereby incorporated by reference as if fully set forth herein.

              12.     Defendant, by and through its actions, has breached the fiduciary duty it owes

       Plaintiffs and their minor son CR, thus causing Plaintiffs damages.

                                 FOURTH CAUSE OF ACTION - FRAUD

              Paragraphs 1-12 above are hereby incorporated by reference as if fully set forth herein.

              13.     Defendant, by no later than April 1, 2015, "provided guidance that [Defendant felt]

       ABA is not covered under the language of the Policy."

              14.     On or about April 17, 2015, Defendant cited the relevant provisions of the Policy that

       address and provide coverage for ABA while incorrectly claiming that "there are no benefits for


                                                        2
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 22 of 49




       ABA therapy in Oklahoma."

               15.     The representation made by Defendant in,, 15-16 above were false at the time they

       were made, were made by Defendant with knowledge ofits falsity, and were made with the intention

       that Plaintiffs rely upon it, which they did, thus causing them damages.

               16.     Plaintiffs reserve the right to amend their claim for fraud as discovery continues to

       reveal additional counts of fraud.

       FIFfH CAUSE OF ACTION -INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

               17.     The allegations contained above in Paragraphs 1-16 are hereby incorporated by

       reference as if fully set forth herein.

               18.     Defendant's actions towards Plaintiffs in light oftheir minor son CR's condition, the

       clear language ofthe Policy providing coverage for ABA therapy, and the need for ongoing medical

       treatment were outrageous, atrocious, and beyond all possible bounds of decency; Defendant's

       actions were intentionally and recklessly caused to force Plaintiffs to experience emotional distress

       beyond that which a reasonable per could be expected to endure.

                     SIXTH CAUSE OF ACTION - SECOND BREACH OF CONTRACT

               19.     The allegations contained in Paragraphs 1-18 are hereby incorporated by reference as

       if fully set forth herein.

               20.     Plaintiffs obtained policy number 430-182-848 ("the Second Policy") with an

       effective date of January 1, 2016, and have materially complied with all terms of the same.

               21.     Defendant has breached the terms of the Second Policy, thus causing damages to

       Plaintiffs.

                                        SEVENTH CAUSE OF ACTION

               22.     The allegations contained in Paragraphs 1-21 are hereby incorporated by reference as


                                                        3
                                                                              -
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 23 of 49




       if fully set forth herein.

                23.    Defendant's breach of the Second Policy was in bad faith, and has caused the

       Plaintiffs damages.

                          EIGHTH CAUSE OF ACTION - MALICIOUS WRONG

                24.    The allegations contained in Paragraphs 1-23 are hereby incorporated by reference as

       if fully set forth herein.

                25.    Defendant's conduct relating to the Policy and Second Policy and its actions directed

       towards Plaintiffs were intentional and calculated in the ordinary course of events to damage, done

       without just cause nor excuse, and which did, in fact, damage Plaintiffs, thus constituting a malicious

       wrong.

                                              PRAYER FOR RELIEF

                WHEREFORE, premises considered, Plaintiffs hereby pray for judgment in their favor as

       follows: Actual damages in an amount no less than $61,086.90 against Defendant for the causes of

       action listed above in addition to punitive damages.

                                                      Respectfully submitted,

                                                      BRANDES & YANCY, P.L.L.C.



                                              BY:
                                                      J. BRIAN BRANDES, OBA #21112
                                                      1214 E. 33rd St.
                                                      Tulsa, OK, 74105
                                                      918-924-5520 (phone)
                                                      918-796-5717 (fax)
                                                      brian@brandesandyancy.com




                                                         4
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 24 of 49




                                                     VERIFICATION
      STATE OF OKLAHOMA                          )
      COUNTY OF TULSA                            )
                                                                                                        .
              Hayden Ryan oflawfw age and being first duly sworn statesthathe has read e foreg()ing
      Petition, that he is familiar with the contents therein and that the allegations set forth th rein � true
      and correct.




                                                      7
              Subscribed and sworn before rne this lt. '1 day of           :V�....-o� . 2 16.

      STATE OF OKLAHOMA                         )
      COUNTY OF TULSA                           )
              Autumn Ryan oflawful age and being first duly swom st.ates that she has read e fore.oing
      Petition. that she is familiar with the contents therein and that the allen.· . .· ·.·oo...ns orth th rein� true
      and correct.
                                                                                 ,�




                                                           ,�,
                                                         Autumn Ryan


                                                            ·
              Subscribed and sworn before me this                   day of�.
                                                                          � 2 16.




                                                                5
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 25 of 49




                                IN THE DISTRICT COURT IN AND FOR TULSA COUNTY 1)ISTRIE CkURT
                                             STATE OF OKLAHOMA
                                                                                    F                       D
        HAYDEN AND AUTUMN RYAN, INDIVIDUALLY AND AS
                                                                                         MAR 3 1 2017
        PARENTS AND NEXT FRIENDS OF THEIR MINOR SON CR.                             DON NEWBERRY, Court CIA
                                                                                    SWE OF OKLA. MBA COUNTY
                                Plaintiffs,
                                                                    Case No. CJ-2017-1044
        VS.


              (1) UNITED HEALTHCARE LIFE INSURANCE
                                                                     DAMAN CANTRELL
                  COMPANY

                                Defendant.


                                              AMENDED PETITION

                COMES NOW PLAINTIFFS Hayden and Autumn Ryan and their Minor Son C.R.

       ("Plaintiffs') and for their claims against Defendant United Healthcare Life Insurance Company

       ("Defendant") state as follows. Pursuant to Olda. Stat. tit. 12 § 2015, this Amended Pleading is

       being filed without leave of Court nor opposing counsel as a responsive pleading has not yet been
       served by Defendant.

                1.    Plaintiffs are Tulsa County residents and have been Tulsa County residents for all
       relevant time periods.

               2.     Defendant is an insure
                                          . = company with its principal place of business outside of the

      state of Oklahoma.

               3.     The acts, omissions, and occurrences that gave rise to this lawsuit arose in Tulsa
      County.

               4.     Jurisdiction and venue are appropriate in this matter.

              FIRST CAUSE OF ACTION — BREACH OF CONTRACT OF DEFENDANT

               5.     On or about January 1, 2015, Defendant issued Policy Number 430 038 821
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 26 of 49




       ("Policy") for Plaintiffs' minor son ("CR") with an effective date ofJanuary 1, 2015—December 31,

       2015.

               6.      The Policy was renewed for a second term from January 1, 2016, with an effective

       date of January 1, 2016—December 31, 2016.

               7.      The Policy, by its terms, covers Applied Behavior Analysis (ABA) therapy, which is

       required by CR in light of his diagnosis of Autism Spectrum Disorder.

               8.      The Policy, by its terms, is Guaranteed Renewable Subject to Listed Conditions.

               9.      Defendant has refused to appropriately interpret the provisions of the Policy, thereby

       causing Plaintiffs damages.

                     SECOND CAUSE OF ACTION – BAD FAITH OF DRFENDANT

               Paragraphs 1-9 above are hereby incorporated by reference as if fiilly set forth herein.
               10.    The Policy has been unreasonably interpreted by Defendant so that Defendant can

       save money, to the detriment of Plaintiffs' minor son CR.

               11.    The Policy has been unreasonably interpreted by Defendant in bad faith, thus causing

       Plaintiffs damages.

                     THIRD CAUSE OF ACTION – BREACH OF FIDUCIARY DUTY
         -     Paragraphs 1-11 above are hereby incorporated by reference as if fully set forth herein.

               12.    Defendant, by and through its actions, has breached the fiduciary duty it owes

       Plaintiffs and their minor son CR, thus causing Plaintiffs damages.

                                  FOURTH CAUSE OF ACTION - FRAUD

               Paragraphs 1-12 above are hereby incorporated by reference as if fully set forth herein.

               13.    Defendant, by no later than April 1, 2015, "provided guidance that [Defendant felt]

       ABA is not covered under the language of the Policy."


                                                         2
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 27 of 49




             •   14.     On or about April 17, 2015, Defendant cited the relevant provisions of the Policy that

       address and provide coverage for ABA while incorrectly claiming that "there are no benefits for

       ABA therapy in Oklahoma."

                 15.     The representation made by Defendant in 15-16 above were false at the time they

       were made, were made by Defendant with knowledge of its falsity, and were made with the intention
       that Plaintiffs rely upon it, which they did, thus causing them damages.

                 16.     Plaintiffs reserve the right to amend their claim for fraud as discovery continues to

       reveal additional counts of fraud.

       rtrni CAUSE OF ACTION—INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                 17.     The allegations contained above in Paragraphs 1-16 are hereby incorporated by

       reference as if fully set forth herein.

                 18.     Defendant's actions towards Plaintiffs in light of their minor son CR's condition, the

       clear language of the Policy providing coverage for ABA therapy, and the need for ongoing medical

       treatment were outrageous, atrocious, and beyond all possible bounds of decency; Defendant's

       actions were intentionally and recklessly caused to force Plaintiffs to experience emotional distress

       beyond that which a reasonable per could be expected to endure.

                       wax CAUSE OF ACTION — SECOND DREAM OF CONTRACT
                 19.     The allegations contained in Paragraphs 1-18 are hereby incorporated by reference as

       if fully set forth herein.

                 20.     Plaintiffs obtained policy number 430-182-848 ("the Second Policy") with an
       effective date of January 1, 2016, and have materially complied with all terms of the same.

                 21.     Defendant has breached the terms of the Second Policy, thus causing damages to

       Plaintiffs.


                                                           3
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 28 of 49




                                        SEVENTH CAUSE OF ACTION
                22.     The allegations contained in Paragraphs 1-21 are hereby incorporated by refetence as
       if fully set forth herein.

                23.     Defendant's breach of the Second Policy was in bad faith, and has caused the
       Plaintiffs damages.

                           EIGHTH CAUSE OF ACTION — MALICIOUS WRONG

                24.     The allegations contained in Paragraphs 1-23 are hereby incorporated by reference as

       if fully set forth herein.

                25.     Defendant's conduct relating to the Policy and Second Policy and its actions directed

       towards Plaintiffs were intentional and calculated in the ordinary course of events to damage, done

       without just cause nor excuse, and which did, in fact, damage Plaintiffs, thus constituting a malicious

       wrong.

       NINTH CAUSE OF ACTION —NEGLIGENCE IN THE PROCUREMENT OF INSURANCE

                26.    The allegations contained in Paragraphs 1-25 are hereby incorporated by reference as

       if fully set forth herein.

                27.    Defendant, by and through its agents, negligently procured the insurance for Plaintiffs

       in that the coverage promised by Defendant's agents was inconsistent with the coverage provided by

       Defendant, thus causing Plaintiffs damages.

                                               Eft&UREMBELEE
                WHEREFORE, premises considered, Plaintiffs hereby pray for judgment in their favor as

       follows: Actual damages in an amount no less than $61,086.90 against Defendant for the causes Of

       action listed above in addition to punitive damages.




                                                          4
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 29 of 49




                                                       Respectfully submitted,
                                                       BRANDES & YANCY,


                                               BY:
                                                       J. BRIAN BRANDES, OBA #211 12
                                                       1214 E. 33"I St.
                                                       Tulsa, OK, 74105
                                                       918-924-5520 (phone)
                                                       918-796-5717 (fax)
                                                       brian@bmndesandyancv.com
                                                 VERIFICATION
         STATE OF OKLAHOMA
         COUNTY OF TULSA                                                   1

                 Hayden Ryan of lawful age and being first duly sworn states that he has read ;the foregoing
         Amended Petition, that he is farniliar with the contents therein and that the allegations set forth
         therein are true and correct.

                                                        C--V-=1
                                                      Hayden       ti

                Subscribed and sworn before me this 3         (   day of                     ,   2017.




                                                     6•N•I\J

                                                     (le e (co




                                                          5
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 30 of 49



                                                                                  ;11110001#
                            IN THE DISTRICT COURT IN AND FOR TULSA COUNTY
                                          STATE OF OKLAHOMA


       HAYDEN AND AUTUMN RYAN, INDIVIDUALLY AND AS
       PARENTS AND NEXT FRIENDS OF THEIR MINOR SON C.R.

                             Plaintiffs,
                                                                 Case No. CJ-2017-1044
       VS.                                                       Judge Cantrell

             (I) UNITED HEALTHCARE LIFE INSURANCE                                 DISTRIQT COURT
                  COMPANY                                                        FILED
                             Defendant.                                               MAR 2 6 ZOIB
                                                                                 DON NEWBERRY, Oport Pork
                                                                                 STATE 0i, 00, TWO, (MO
                               NOTICE OF DEFENDANT'S LACK OF
                           OBJECTION TO BEING SERVED OUT OF TIME

              COME NOW PLAINTIFFS and hereby provide notice to this Court that Defendant United

      Healthcare Life Insurance Company ("Defendant") agreed to being served out of time, as evidenced

      by the attached email wherein general counsel for Defendant advised he had no objection to an

      additional 120 days of service on December 26, 2017. See Ex. 1, December 18-26, 2017, email

      exchange between counsel for Plaintiffs and counsel for Defendant.

                                                  Respectfully submitted,

                                                  BRANDES & YANCY, P.L.L.C.



                                           BY:
                                                  J. BRIAN BRANDES, OBA #21112
                                                  1214 E. 33rd St.
                                                  Tulsa, OK, 74105
                                                  918-924-5520 (phone)
                                                  918-796-5717 (fax)
                                                  brian@brandesandyancy.com
                                                  Attorney for Plaintiffs
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 31 of 49



     From: Nejedlo, Todd tnejedlo@unitedheatthone.com
   Subject: RE: Ryan v. UHC - Tulsa Co. Case No, CJ-17-1044
      Date: December 26, 2017 at 1:11 PM
        To: J, Brian Brandes brian@brandesandyancycom


          I have no objection.

          I will call you in a couple of days. I apologize for not responding sooner. My mother-in-law
          passed away the weekend before last and I have been helping my wife make funeral
          arrangements and trying to get her affairs in order.


          From: J. Brian Brandes [mailto:brian@brandesandyancy.com]
          Sent: Monday, December 18, 2017 12:04 PM
          To: Nejedlo, Todd
          Cc: maryjoy@brandesandyancy.com
          Subject: Re: Ryan v. UHC - Tulsa Co. Case No. 0-17-1044

          Good morning Todd.

          I'm following up on this matter. As I requested in the voicemail I left you earlier,
          when you get the chance, will you please give me a call at 918-986-7410? I know
          that you've recently taken over addressing this issue from Adam Carroll so I'd
          like some additional time to see if we can resolve this short of litigation. Let me
          know please if you object to an additional 120 days for service.

          Thanks,
          Brian

          J. Brian Brandes
          Brandes & Yancy
          1214 E. 33rd St.
          Tulsa, OK, 74105
          918.924.5520
          918.986.7410 (direct)
          918.796.5717 (fax)
          brian@brandesandyancy.com




                  On Nov 13, 2017, at 12:47 PM, J. Brian Brandes                                  EXHIBIT
                                    1
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 32 of 49



                   amtwes' ancy.com-> wrote:

             HI Todd.

             Thank you for the quick response.
             I do not have a counter at the moment. For a number of reasons, I
             think that this matter is best handled at a mediation. When we talk
             later I can explain this in detail.
             Thanks,
             Brian

             J. Brian Brandes
             Brandes & Yancy
             1214 E. 33rd St.
             Tulsa, OK, 74105
             918.924.5520
             918.986.7410 (direct)
             918.796.5717 (fax)
             bliangbrandesandyancy_tom




                  On Nov 13, 2017, at 12:44 PM, Nejedlo, Todd
                  <tnejedlo@unitedhealthone.com > wrote:

                  Hi Brian-

                  I have talked to Adam and am in the process of reviewing all of the file
                  materials. I can give you a call in a day or so.

                  However, as an initial matter, I know Adam extended a settlement offer
                  oil. Do you have a counter demand?

                  Todd
                  Todd W. Nejedlo
                  Associate General Counsel
                  llnitpdHpalthcarP                                                  REDACTED
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 33 of 49




                  7440 Woodland Drive -
                  Indianapolis, IN 46278

                  Phone: (317) 715-7926
                  Fax: (317) 328-9645
                  E-mail: tnejedlo©UnitedHeatthOne.com
                  <image003.png>




                  From: 3. Brian Brandes [mailto:brianPbrandesandyancy.com]
                  Sent: Thursday, November 09, 2017 4:02 PM
                  To: Nejedlo, Todd
                  Cc: maryttybrandesandyancy.com ; Carroll, Adam
                  Subject: Ryan v. WIC - Tulsa Co. Case No. 0-17-1044

                  Hello Mr. Nejedlo.

                  At your earliest convenience, please give me a call to
                  discuss this matter.

                  Thanks,
                  Brian

                  J. Brian Brandes
                  Brandes & Yancy
                  1214 E. 33rd St.
                  Tulsa, OK, 74105
                  918.924.5520
                  918.986.7410 (direct)
                  918.796.5717 (fax)
                  brian@brandesandyancy.com




                  This e-mail, including attachments, may include confidential and/or
                  proprietary information, and may be used only by the person or entity
                  to which it is addressed. if the reader of this e-mail is not the intended
                  recipient or his or her authorized agent, the reader is hereby notified
                  that any dissemination, distribution or copying of this e-mail is
                  nrohihited If you have reneived this A-mail in Arror nlease notify the
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 34 of 49




                           sender by replying to this message and delete this e-mail immediately.




        This e-mail, including attachments, may include confidential and/or
        proprietary information, and may be used only by the person or entity
        to which it is addressed. If the reader of this e-mail is not the intended
        recipient or his or her authorized agent, the reader is hereby notified
        that any dissemination, distribution or copying of this e-mail is
        prohibited. If you have received this e-mail in error, please notify the
        sender by replying to this message and delete this e-mail immediately.
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 35 of 49



                                                                                        ;1 11130161114113
                             IN THE DISTRICT COURT IN AND FOR TULSA COUNTY
                                           STATE OF OKLAHOMA


       HAYDEN AND AUTUMN RYAN, INDIVIDUALLY AND AS
                                                                                                FEB 2 3 2018
       PARENTS AND NEXT FRIENDS OF THEIR MINOR SON C.R.                                   DON NEWBERRY, Court Clerk
                                                                                          STATE OF OKLA. TULSA COUNTY
                              Plaintiffs,
                                                                   Case No. CJ-2017-1044
       VS.

             (1) UNITED HEALTHCARE LIFE INSURANCE
                 COMPANY

                              Defendant.


                        ORDER GRANTING PLAINTIFFS' SECOND MOTION
                       FOR EXTENSION OF TIME TO EFFECTUATE SERVICE

              This Court, having reviewed Plaintiffs' Unopposed Motion for Extension of Time to

      Effectuate Service ("Motion"), hereby finds that good cause exists pursuant to Okla. Stat. tit. 12

      § 2004(1) for the Motion to be granted and hereby provides Plaintiffs with an additional 90 days to

      effectuate service upon the Defendant, i.e. until April 2, 2018.




                                                    JUDGE OF THE DISTRICT COURT




      Prepared by:
      J. Brian Brandes, OBA #21112
      Attorney for Plaintiffs
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 36 of 49



                                                                                         I I I I!I I I I I Ii 1 1 1 1 JiJI JIJI IJI IJI
                                                                                         *1039090609*•
                             IN THE DISTRICT COURT IN AND FOR TULSA COUNTY
                                           STATE OF OKLAHOMA               IjWjT                          CiUR6

       HAYDEN AND AUTUMN RYAN, INDIVIDUALLY AND AS                                     DEC 2 1 2017
       PARENTS AND NEXT FRIENDS OF THEIR MINOR SON C.R.                           DON NEWBERRY, Court Clerk
                                                                                  STATE OF OKLA. TULSA couNrr
                              Plaintiffs,
                                                                    Case No. CJ-2017-1044
       VS.

             (1) UNITED HEALTHCARE LIFE INSURANCE
                  COMPANY

                              Defendant.


                              PLAINTIFFS' SECOND MOTION FOR
                         EXTENSION OF TIME TO EFFECTUATE SERVICE

              COMENOW PLAINTIFFS Autumn and Hayden Ryan, and, pursuant to Okla. Stat. tit. 12 §

     2004(1), and this Court' s Order of November 16, 2017, hereby seeks an additional 90 days to

     effectuate service on Defendant for good cause, as set forth below.

               1.    Plaintiffs filed suit on March 16, 2017, after an insurance dispute arose between them

     and Defendant relating to Applied Behavioral Analysis Therapy ("ABA Therapy") insurance

     coverage provided to their son.

              2.     Since this suit was filed, Plaintiffs and Defendant have entered into a settlement

     dialogue, but are yet to reach an agreement.

              3.     The subject-matter of this suit relates to the incredibly sensitive issue of insurance

     coverage for involved therapy for children with autism, and the parties are in agreement that a

     settlement dialogue may prove beneficial.

              4.    On November 9, 2017, the Defendant employed new general counsel with

     responsibility for this matter. Counsel for Plaintiffs and the new general counsel have spoken and

     exchanged emails. There has been a settlement dialogue but no agreement has been reached to date.
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 37 of 49




       On December 18, 2017, Plaintiff asked Defendant for additional time to effectuate service in light of

       the ongoing settlement dialogue. Defendant's new general counsel is yet to reply, See Ex. 1, email

       chain between Plaintiffs' counsel and new general counsel for Defendant.1

              5.      Pursuant to Okla. Stat. tit. 12 § 2004(1), in light of the ongoing settlement

       communications, Plaintiffs request that this Court provide them with permission to have summons

       issued that provide them with an additional 90 days to effectuate service upon the Defendant, until

      April 2, 2018, to effectuate service upon Defendant.

              6.      A proposed order has been submitted herewith.

                                                     Respectfully submitted,

                                                     BRANDES & YANCY, P.L.L.C.



                                             BY:
                                                     J. BRIAN BRANDES, OBA #21112
                                                     1214 E. 33"1 St.
                                                     Tulsa, OK, 74105
                                                     918-924-5520 (phone)
                                                     918-796-5717 (fax)
                                                     brian@brandesandyancy.com
                                                     Attorney for Plaintiffs




      1 In light of the confidential nature of this communication, it has been partially redacted.

                                                        2
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 38 of 49




          From: J. Brian Brandon brian@brandesandyancy.corn
        Subject: Re: Ryan v. WIC - Tulsa Co. Case No. CJ-17-1044
           Date: December 18, 2017 at 11:03 AM
             To: Nejedlo, Todd tnejedlogunitedhealthone.com
             Cc: inaryjoy@brandesandyancy corn


       Good morning Todd.

       I'm following up on this matter. As I requested in the voicemail I left you earlier,
       when you get the chance, will you please give me a call at 918-986-7410? I
       know that you've recently taken over addressing this issue from Adam Carroll
       so I'd like some additional time to see if we can resolve this short of litigation.
       Let me know please if you object to an additional 120 days for service.

       Thanks,
       Brian
       J. Brian Brandes
       Brandes & Vancy
       1214 E. 33rd St.
       Tulsa, OK, 74105
       918,924.5520
       918.986.7410 (direct)
       918.796.5717 (tax)
       brianebrandesand) uncy.com




         On Nov 13, 2017, at 12:47 PM, J. Brian Brandes cbrian@brandesandyancv.corn> wrote:


         HI Todd.

        Thank you for the quick response.


                                                            REDACTED
        Thanks,
        Brian

        J. Brian Brandes
        Brandes & 'fancy
        1214 E, 33rd St.
        Tulsa, OK, 74105                                                             41.
        918.924.5520
        918.986.7410 (direct)
        01A 70A A717 /AM
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 39 of 49




        brian@brandesandystno.com




                                                                .tra,         •   .1'74i   a




         On Nov 13, 2017, at 12:44 PM, Nejedlo, Todd <tigjedlo@unitedhealthone.com > wrote:

         Hi Brian-

         I have talked to Adam and am in the process of reviewing all of the file materials. I can give you a
         call in a day or so.




                                                                REDACTE
         Todd W. Nejedlo
         Associate General Counsel
         UnitedHealthcare
         7440 Woodland Drive
         Indianapolis, IN 46278

         Phone: (317) 715-7926
         Fax: (317) 328-9645
         E mail: ingoicaunitecw
          -                  _imilliQuamn
         <image003.png>




         From: J. Brian Brandes [ma_tItanAzand=jammam]
                                     ol
         Sent: Thursday, November 09, 2017 4:02 PM
         To: Nejedlo, Todd
         Cc: MaariakbangiefialickaMI t&QM; Carroll, Adam
         Subject: Ryan v. UHC - Tulsa Co. Case No, 0-17-1044

         Hello Mr. Nejedlo.

        At your earliest convenience, please give me a call to discuss this matter.

        Thanks,
        Brian

        J. Brian Brandes
        Brandes & Yancy
        1214 E. 33rd St.
        Tulsa, OK, 74105
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 40 of 49
 •




         918.924.5520
         918.986.7410 (direct)
         918.796.5717 (fax)
         brian@brandguadyancy.com




         This e-mail, including attachments, may include confidential and/or
         proprietary information, and may be used only by the person or entity
         to which it is addressed, If the reader of this e-mail is not the intended
         recipient or his or her authorized agent, the reader is hereby notified
         that any dissemination, distribution or copying of this e-mail is
         prohibited. If you have received this e-mail in error, please notify the
         sender by replying to this message and delete this e-mail immediately.
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 41 of 49


                                                                                           1 1 1 ,1 1 1 til N11 1 1 3
                               IN THE DISTRICT COURT IN AND FOR TULSA COUNTY      FDISTRICT
                                                                                      ILED
                                                                                            COURT
                                             STATE OF OKLAHOMA
                                                                                        NOV 1 6 2017
      HAYDEN AND AUTUMN RYAN, INDIVIDUALLY AND AS                                 DON NEWBERRY, Court Clerk
      PARENTS AND NEXT FRIENDS OF THEIR MINOR SON C.R.                            STATE OF OKLA. TULSA COUNTY


                                Plaintiffs,
                                                                 Case No. CJ-2017-1044
      VS.

            (1) UNITED HEALTHCARE LIFE INSURANCE
                 COMPANY

                                Defendant.


                     ORDER GRANTING PLAINTIFFS' UNOPPOSED MOTION
                     FOR EXTENSION OF TIME TO EFFECTUATE SERVICE

              This Court, having reviewed Plaintiffs' Unopposed Motion for Extension of Time to

     Effectuate Service ("Motion"), hereby finds that good cause exists pursuant to Okla. Stat. tit. 12
                                                                                               sO
     § 2004(1) for the Motion to be granted and hereby provides Plaintiffs with an additional +8+days to
                                                         :74=m1Lierv8
     effectuate service upon the Defendant, i.e. until




                                                   RIDGE OF THE DISTRICT COURT




     Prepared by:
     J. Brian Brandes, OBA #21112
     Attorney for Plaintiffs
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 42 of 49



                                                                                               1 1 38 2 12 9 11
                                                                                             11111           ,1„III
                            IN THE DISTRICT COURT IN AND FOR TULSA COUNTY
                                          STATE OF OKLAHOMA


      HAYDEN AND AUTUMN RYAN, INDIVIDUALLY AND AS
      PARENTS AND NEXT FRIENDS OF THEIR MINOR SON C.R.

                             Plaintiffs,
                                                                  Case No. CJ-2017-1044
      VS.


            (1) UNITED HEALTHCARE LIFE INSURANCE                                         DISTRIcT CaURT
                 COMPANY
                                                                                             SEP 1 5 2017
                             Defendant.
                                                                                       DON
                                                                                      sumNEWBERRY,  Cow Clerk
                                                                                         OF ORIA TULSA COUNT(
                           PLAINTIFFS' UNOPPOSED MOTION FOR
                        EXTENSION OF TIME TO EFFECTUATE SERVICE

              COME NOW PLAINTIFFS Autumn and Hayden Ryan, and, pursuant to Okla. Stat. tit. 12 §

     2004(1), and this Court's Order of September 12, 2017, hereby seeks an additional 180 days to

     effectuate service on Defendant for good cause, as set forth below.

              1.    Plaintiffs filed suit on March 16, 2017, after an insurance dispute arose between them

     and Defendant relating to Applied Behavioral Analysis Therapy ("ABA Therapy") insurance

     coverage provided to their son.

             2.     Since this suit was filed, Plaintiffs and Defendant have entered into a settlement

     dialogue, but are yet to reach an agreement.

              3.    On July 26, 2017, the assistant general counsel employed by Defendant with whom

     Plaintiffs have been speaking confirmed that Defendant had no objection to an extension on service

     in light of the ongoing settlement dialogue. See Ex. 1, July 26, 2017, email between Plaintiffs'

     counsel and assistant general counsel for Defendant.1

             4.     Pursuant to Okla. Stat. tit. 12 § 2004(1), in light of the non-objection of Defendant
    Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 43 of 49
I




          and the ongoing settlement communications, Plaintiffs request that this Court provide them with

          permission to have summons issued that provide them with an additional 180 days to effectuate

          service upon the Defendant, until March 11, 2018, to effectuate service upon Defendant.

                 5.      A proposed order has been submitted herewith.

                                                         Respectfully submitted,

                                                         BRANDES & YANCY, P.L.L.C.



                                                 BY:
                                                         J. BRIAN BRANDES, OBA #21112
                                                         1214 E. 33 rd St.
                                                         Tulsa, OK, 74105
                                                         918-924-5520 (phone)
                                                         918-796-5717 (fax)
                                                         brian@brandesandyancy.com




          1 In light of the confidential nature of this communication, it has been partially redacted.

                                                            2
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 44 of 49



     From: J. Brian Brandes hrian@brandesandvancy.com
   Subject: Ryan v. United - extension on service ;
      Date: July 26, 2017 at 10:15 AM
        To: Carroll, Adam acarroll@unitedhealthone.com
        Cc: rnaryjoyObrandesandyancy.com


   Thank you for the time earlier Adam. I also appreciate you agreeing on behalf
   of UHC to not object to an extension to serve UHC as we explore a potential
   early resolution.




                                                  REDACTID




   Thanks,
   Brian
   J. Brian Brandes
   Brandes & Yancy
   1214 E. 33rd St.
   Tulsa, OK, 74105
   918.924.5520
   918.986.7410 (direct)
   918.796.5717 (fax)
   Nian@brandesandyancy.com
Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 45 of 49
                                                                                                            Page 1 of 1


                                                                                                        BHA 18 I

            TO:

            J BRIAN BRADNES
            BRANDES & YANCYT PLLC
            1214 E 33RD ST
            TULSA, OK 74105




                                                                                                                   viU-ORT
                                  IN THE DISTRICT COURT OF TULSA COUNTY                         F                       D
                                            STATE OF OKLAHOMA
            AUTUMN RYAN, et al,
                                                                                                      SEP 1 `4 7017
            Plaintiff(s),
            vs.                                                   Case #: CJ-2017-1044           DON NEWBERRY, Court Clerk
            UNITED HEALTHCARE LIFE INSURANCE                                                     STATE OF OKLA. TULSA COUNTY
            COMPANY,                                              Judge: Daman H. Cantrell
            Defendant.


            NOTICE OF IMPENDING DISMISSAL FOR FAILURE TO OBTAIN SERVICE WITHIN
                                         180 DAYS

          Pursuant to an examination of the files and docket sheet, it appears that more than one hundred eighty
          (180) days have elapsed and service has not been made upon the following Defendant(s): UNITED
          HEALTHCARE LIFE INSURANCE COMPANY; .

          Plaintiff is hereby notified to file by Tuesday, September 26, 2017 an appropriate motion or pleading to
          show cause why this action should not be dismissed as to the above-named Defendant(s) pursuant to 12
          Oklahoma Statutes Section 2004(1).


                           Ct\rejn                                -   DAMAN CANTRELL
             Dated                                               Judge of the District Court

                                                 CERTIFICATE OF MAILING

          I hereby certify that on          ct     1-2_t      20n I mailed a true and correct copy of this Notice to
          the following persons, and filed a true a correct copy in this case.
          To: J BRIAN BRADNES, Brandes & Yancyt Pilo, 1214 E rd                ulsa, OK 05.



                                                                 Deputy Court Clerk




 http://ocis33app/applications/ocisweb/report.asp?report=frm180DispoDocketNotice&error.. . 9/12/2017
        Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 46 of 49
                   IN THE DISTRICT COURT IN AND FOR TULSA COUNTY, OKLAHOMA
                                                                                         No. CJ-2017-1044
HAYDEN RYAN,                                                                             (Civil relief more than $10,000:
     Plaintiff, and                                                                      BAD FAITH INSURER LIABILITY)
AUTUMN RYAN,
     Plaintiff,                                                                          Filed: 03/16/2017
V.
UNITED HEALTHCARE LIFE INSURANCE COMPANY,
     Defendant.                                                                          Judge: Cantrell, Daman H.

Parties

R C , Minor
RYAN, AUTUMN , Plaintiff
RYAN, HAYDEN , Plaintiff
UNITED HEALTHCARE LIFE INSURANCE COMPANY , Defendant

Attorneys

Attorney                                                                                 Represented Parties
BRADNES, J BRIAN(Bar # 21112)                                                            RYAN, HAYDEN
BRANDES & YANCYT PLLC                                                                    RYAN, AUTUMN
1214 E 33RD ST
TULSA, OK 74105


Events

Event                                Party                             Docket                                   Reporter

Issues

For cases filed before 1/1/2000, ancillary issues may not appear except in the docket.



Issue # 1.                                                                                               Issue: BAD FAITH INSURER LIABILITY
                                                                                                         (INSURE)
                                                                                                         Filed by: RYAN, HAYDEN
                                                                                                         Filed Date: 03/16/2017
                 Party Name:                                                                             Disposition Information:

                 Defendant: UNITED HEALTHCARE LIFE INSURANCE                                             Pending.
                 COMPANY

Issue # 2.                                                                                               Issue: BAD FAITH INSURER LIABILITY
                                                                                                         (INSURE)
                                                                                                         Filed by: RYAN, AUTUMN
                                                                                                         Filed Date: 03/16/2017
                 Party Name:                                                                             Disposition Information:

                 Defendant: UNITED HEALTHCARE LIFE INSURANCE                                             Pending.
                 COMPANY

Docket

Date             Code                       Count Party                 Serial # Entry Date                    User Name
                                                                                         Mar 16 2017
03-16-2017 TEXT                             1                           100943296
                                                                                         4:06:57:333PM
                                                                                                              OSCN\CarolynKindley              $ 0.00
                 CIVIL RELIEF MORE THAN $10,000 INITIAL FILING.

                                            -                                       Mar 16 2017
03-16-2017 INSURE                                                       100943298 4:06:57:463PM
                                                                                                              OSCN\CarolynKindley   Realized   $ 0.00
                 BAD FAITH INSURER LIABILITY

                                            _                                            Mar 16 2017
03-16-2017 DMFE                                                         100943299
                                                                                         4:06:57:510PM
                                                                                                               SYSTEM \Autodocket   Realized   $ 7.00
     Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 47 of 49
          DISPUTE MEDIATION FEE($ 7.00)

                                                             Mar 16 2017
03-16-2017 PFE1                                  100943300
                                                             4:33:29:440PM
                                                                             OSCN\SharonLaw        Realized   $ 163.00
          PET1TION($ 163.00)
           El Document Available (#1036219757)
                                                             Mar 16 2017
03-16-2017 PFE7                                  100943301
                                                             4:06:57:510PM
                                                                             SYSTEM \Autodocket    Realized     $ 6.00
          LAW LIBRARY FEE($ 6.00)

                                                             Mar 16 2017
03-16-2017 OCISR                                 100943302
                                                             4:06:57:510PM
                                                                             SYSTEM \Autodocket    Realized    $ 25.00
          nKI AHoMA COURT INFORMATION SYSTEM REVOLVING FUND($ 25.00)

                                                             Mar 16 2017
03-16-2017 OCJC                                  100943303
                                                             4:06:57:510PM
                                                                             SYSTEM \Autodocket    Realized     $ 1.55
          OKLAHOMA COUNCIL ON JUDICIAL COMPLAINTS REVOLVING FUND($ 1.55)

                                                 100943304 Mar 16 2017
03-16-2017 OCASA                                            4:06:57:510PM
                                                                             SYSTEM \Autodocket    Realized     $ 5.00
          OKLAHOMA COURT APPOINTED SPECIAL ADVOCATES($ 5.00)

                                                             Mar 16 2017
03-16-2017 SSFCHSCPC                             100943305
                                                             4:06:57:510PM
                                                                             SYSTEM \Autodocket    Realized    $ 10.00
          SHERIFF'S SERVICE FEE FOR COURTHOUSE SECURITY PER BOARD OF COUNTY COMM1SSIONER($ 10.00)

                                                             Mar 16 2017
03-16-2017 CCADMINCSF                            100943306
                                                             4:06:57:510PM
                                                                             SYSTEM \Autodocket    Realized     $ 1.00
          COURT CLERK ADMINISTRATIVE FEE ON COURTHOUSE SECURITY PER BOARD OF COUNTY
          COMM1SSIONER($ 1.00)

                                                             Mar16 2017
03-16-2017 CCADMIN0155         -                 100943307
                                                             4:06:57:510PM
                                                                             SYSTEM \Autodocket    Realized     $ 0.16
          COURT CLERK ADMINISTRATIVE FEE ON $1 55 COLLECTION($ 0 16)

                                                 100943308 Mar 16 2017
03-16-2017 SJFIS                                            4:06
                                                               :57:510PM
                                                                             SYSTEM \Autodocket    Realized     $ 0.45
          STATE JUDICIAL REVOLVING FUND - INTERPRETER AND TRANSLATOR SERV10ES($ 0.45)

                                                 100943309 Mar 16 2017
03-16-2017 DCADMIN155          -                            4:06:57:510PM
                                                                             SYSTEM \Autodocket    Realized      $ 0.23
           DISTRICT COURT ADMINISTRATIVE FEE ON $1.55 COLLECT1ONS($ 0.23)

                                                             Mar 16 2017
03-16-2017 DCADMINO5                             100943310
                                                             4:06:57:510PM
                                                                             SYSTEM \Autodocket    Realized      $ 0.75
           DISTRICT COURT ADMINISTRATIVE FEE ON $5 COLLECT1ONS($ 0.75)

                                                             Mar 16 2017
03-16-2017 DCADMINCSF          -                 100943311
                                                             4:06:57:510PM
                                                                             SYSTEMNAutodocket     Realized      $ 1.50
          DISTRICT COURT ADMINISTRATIVE FEE ON COURTHOUSE SECURITY PER BOARD OF COUNTY
          COMM1SSIONER($ 1.50)

                                                             Mar 16 2017
03-16-2017 CCADMINO4           -                 100943312
                                                             4:06:57:510PM
                                                                             SYSTEM \Autodocket    Realized      $ 0.50
          COURT CLERK ADMINISTRATIVE FEE ON COLLECT1ONS($ 0.50)

                                                             Mar 16 2017
03-16-2017 LTF                                   100943313
                                                             4:06:58:053PM
                                                                             OSCN\CarolynKindley   Realized    $ 10.00
           LENGTHY TRIAL FUND($ 10 00)

                                                             Mar 16 2017
03-16-2017 TEXT                                  100943297
                                                             4:06:57:397PM
                                                                             OSCN\CarolynKindley                 $ 0.00
          OCIS HAS AUTOMATICALLY ASSIGNED JUDGE CANTRELL, DAMAN H. TO THIS CASE.

                                                             Mar 16 2017
    Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 48 of 49
03-16-2017 ACCOUNT                            100943322 4:07:25:623PM   OSCN \CarolynKindley             $   0.00
           RECEIPT # 2017-3524670 ON 03/16/2017.
           PAYOR: BRANDES & YANCY TOTAL AMOUNT PAID: $ 232.14.
           LINE ITEMS:
           CJ-2017-1044: $163.00 ON AC01 CLERK FEES.
           CJ-2017-1044: $6.00 ON AC23 LAW LIBRARY FEE CIVIL AND CRIMINAL.
           CJ-2017-1044: $1.66 ON AC31 COURT CLERK REVOLVING FUND.
           CJ-2017-1044: $5.00 ON AC58 OKLAHOMA COURT APPOINTED SPECIAL ADVOCATES.
           CJ-2017-1044: $1.55 ON AC59 COUNCIL ON JUDICIAL COMPLAINTS REVOLVING FUND.
           CJ-2017-1044: $7.00 ON AC64 DISPUTE MEDIATION FEES CIVIL ONLY.
           CJ-2017-1044: $0.45 ON AC65 STATE JUDICIAL REVOLVING FUND, INTERPRETER SVCS.
           CJ-2017-1044: $2.48 ON AC67 DISTRICT COURT REVOLVING FUND.
           CJ-2017-1044: $25.00 ON AC79 OCIS REVOLVING FUND.
           CJ-2017-1044: $10.00 ON AC81 LENGTHY TRIAL FUND.
           CJ-2017-1044: $10.00 ON AC88 SHERIFF'S SERVICE FEE FOR COURT HOUSE SECURITY.

                                    RYAN,       101114239 Apr 3 2017
03-31-2017 AMP                      HAYDEN                 11:05:00:380AM
                                                                             OSCN\CarolynKindley         $ 0.00

          AMENDED PETITION
          EJ Document Available (#1036561132)
                                                            Sep 12 2017
09-12-2017 CTFREE                               102737295
                                                            2:47:47:623PM
                                                                             OSCI\I\Melissallorris       $ 0.00
          MINUTE ORDER: NOTICE OF IMPENDING DISMISSAL FOR FAILURE TO OBTAIN SERVICE WITHIN 180 DAYS.
          PLAINTIFF TO SHOW CAUSE BY 9-26-17 OR CASE WILL BE DISMISSED. NOTICE MAILED TO BRIAN
          BRADNES.

                                                            Sep 26 2017
09-12-2017 NO                                   102751163
                                                            3:47:39:560PM
                                                                             OSCN\Melissallorris         $ 0.00
          NOTICE OF IMPENDING DISMISSAL FOR FAILURE OT OBTAIN SERVICE WITHIN 180 DAYS / CERTIFICATE
          OF MAILING / TO: J BRIAN BRADNES
          ElDocument Available (#1038230850)

                                    RYAN,                   Sep 18 2017
09-15-2017 MO                       HAYDEN
                                                102792123
                                                            12:46:03:163PM
                                                                             OSCN\CarolynKindley         $ 0 00
          PLAINTIFFS UNOPPOSED MOTION FOR EXTENSION OF TIME TO EFFECTUATE SERVICE / A TO J
          ElDocument Available (#1038229296)

                                                            Sep 26 2017
09-26-2017 CTFREE                               102877293
                                                            11:11:49:363AM
                                                                             OSCNWelissallorris          $ 0 00
          MINUTE ORDER: SHOW CAUSE ACCEPTED BY THE COURT AND PLAINTIFF IS GIVEN ADDITIONAL TIME OF
          90 DAYS OR UNTIL 1-2-18 TO OBTAIN SERVICE ON DEFENDANT.

                                                            Nov 17 2017
11-16-2017 0                                    103556567
                                                            10:05:26:943AM
                                                                             OSCN\DanielHaddock          $ 0.00

          ORDER GRANTING PLAINTIFFS' UNOPPOSED MOTION FOR EXTENSION OF TIME TO EFFECTUATE
          SERVICE
          M. Document Available (#1038774340)

                            _       RYAN,                   Dec 21 2017
12-21-2017 MO                       HAYDEN
                                                103880290
                                                            2:35:02:490PM
                                                                             OSCN\DanielHaddock      -   $ 0.00
          PLAINTIFFS' SECOND MOTION FOR EXTENSION OF TIME TO EFFECTUATE SERVICE / A2J
          :FLADocument Available (#1039090609)

                                                            Jan 2 2018
01-02-2018 CTFREE                               103946841
                                                            3:39:36:123PM
                                                                             OSCN\Melissallorris         $ 0.00
          MINUTE ORDER: ORDER GRANTING PLAINTIFFS' SECOND MOTION FOR EXTENSION OF TIME TO
          EFFECTURATE SERVICE FOR AN ADDITIONAL 90 DAYS OR UNTIL 4-2-18; ORDER ENTERED.

                                                            Feb 26 2018
02-26-2018 0                                    104466884
                                                            10:14:05:720AM
                                                                             OSCN2inaRawlins             $ 0.00

          ORDER GRANTING PLAINTIFFS SECOND MOTION FOR EXTENSION OF TIME TO EFFECTUATE SERVICE
          gDocument Available (#1039614131)

                                                            Mar 26 2018
         Case 4:18-cv-00206-GKF-FHM Document 2 Filed in USDC ND/OK on 04/13/18 Page 49 of 49
03-26-2018 SMF                                                    104773334 4:09:40:057PM          OSCN\CarolynKindley    Realized       $ 30.00
           SUMMONS FEE-3($ 30.00)

                                                                  104773335 Mar 26 2018
03-26-2018 SMIMA                        -                                    4:09:45:190PM
                                                                                                   OSCN\CarolynKindley                    $   0.00
                SUMMONS ISSUED - MAILED BY ATTORNEY

                                                   RYAN,          104779737 Mar 27 2018
03-26-2018 NO                           -          HAYDEN                    10:47:24:400AM
                                                                                                   OSCN\pamelazitzman                     $ 0.00
                NOTICE OF DEFENDANTS LACK OF OBJECTION TO BEING SERVED OUT OF TIME
                EiDocument Available (#1039840668)

                                                                                Mar 26 2018
03-26-2018 ACCOUNT                                                104773341
                                                                                4:10:08:707PM
                                                                                                   OSCN\CarolynKindley                    $   0.00
                RECEIPT # 2018-3735570 ON 03/26/2018.
                PAYOR: BRANDES & YANCY PLLC TOTAL AMOUNT PAID: $ 30.00.
                LINE ITEMS:
                CJ-2017-1044: $30.00 ON AC01 CLERK FEES.

                                                                                Mar 27 2018
03-27-2018 SMF                                                    104787592
                                                                                3:28:10:537PM
                                                                                                   OSCN\LisaMCarpenter    Realized       $ 10.00
                SUMMONS FEE($ 10.00)

                                                                                Mar 27 2018
03-27-2018 SMIMA                                                  104787593
                                                                                3:28:18:050PM
                                                                                                   OSCN\LisaMCarpenter                    $   0.00
                SUMMONS ISSUED - MAILED BY ATTORNEY

                                                                                Mar 27 2018
03-27-2018 ACCOUNT                                                104787601
                                                                                3:28:39:717PM
                                                                                                   OSCN\LisaMCarpenter                    $   0.00
                RECEIPT # 2018-3736529 ON 03/27/2018.
                PAYOR: BRANDES & YANCY PLLC TOTAL AMOUNT PAID: $ 10.00.
                LINE ITEMS:
                CJ-2017-1044: $10.00 ON AC01 CLERK FEES.


Balances

                                                              Costs         Costs       Balance      Cash        Bond
P arty                                                                                                                  Overpayments Holding
                                                               Due           Paid           Due     Bonds         Forf.
RYAN, AUTUMN                                                  $ 0.00        $ 0.00        $ 0.00     $ 0.00      $ 0.00         $ 0.00    $ 0.00
UNITED HEALTHCARE LIFE INSURANCE                              $ 0.00        $ 0.00        $ 0.00     $ 0.00      $ 0.00         $ 0.00    $ 0.00
COMPANY
RYAN, HAYDEN                                                  $ 0.00        $ 0.00        $ 0.00     $ 0.00      $ 0.00         $ 0.00    $ 0.00
R, C                                                          $ 0.00        $ 0.00        $ 0.00     $ 0.00      $ 0.00         $ 0.00    $ 0.00
Generic Party                                              $ 272.14      $ 272.14         $ 0.00     $ 0.00      $ 0.00         $ 0.00    $ 0.00
Totals                                                     $ 272.14      $ 272.14         $ 0.00     $ 0.00      $ 0.00         $ 0.00    $ 0.00

Report Generated by The Oklahoma Court Information System at April 5, 2018 11:51 AM


End of Transmission.
